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UN|TED STATES D|STR|CT COURT v _ __

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MEMPH|S CENTER FOR lNDEPENDENT L|V|NG1
Plaintiff,
v. Case No. 01-2069 D/Pha
RlCHARD AND lVllLTON GRANT CO., et al.,
Detendants,
and
UN|TED STATES OF AN|ER|CA,
P|aintiff-lntervenor,
v.
RICHARD AND NllLTON GRANT CO., et a|.,

Defendants.

 

 

DRDER GRANT|NG EXTENS|ON OF T|ME FOR 30(b)(6) DEPOSlT|ON

This Court has considered the unopposed motion of Defendants Richard and
lVlilton Grant Co., J. Richard Grant, and lVlilton C. Grant (the “Grant Defendants”) for
modification of lVlagistrate Judge Tu lVl. Pharn’s Nlarch 18, 2005 order allowing the
United States until lVlay 9, 2005 to depose Defendants regarding their net worth. The
Grant Defendants have filed a protective order pursuant to Fed. R. Civ. Pro. 26(c), and
the United States’ opposition thereto. To allow for complete briefing and consideration
of the motion for protective order, the unopposed motion of the Grant Defendants to
extend the lVlay 9, 2005 deadline for net worth depositions is hereby GRANTED. ln the

event the Grant Defendants motion for protective order is denied, the United States may

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proceed with the noticed Rule 30(b)(6) deposition at a mutually convenient date to be

determined by the parties.

SO ORDERED this £.> day Of M , 2005.

 

UN| ED STATES D|STR|CT JUDGE

Proposed Order prepared by:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 579 in
case 2:01-CV-02069 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

